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                                                  CORRECTED



    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1289V
                                          UNPUBLISHED


    MICHELLE SCHNEIDER,                                         Chief Special Master Corcoran

                         Petitioner,                            Filed: September 14, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for Petitioner.

Sarah Black Rifkin, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES1

      On August 27, 2019, Michelle Schneider filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (SIRVA) after receiving the influenza (flu) vaccination on September 13,
2016. Petition at 1. The case was assigned to the Special Processing Unit of the Office
of Special Masters.

       On June 10, 2021, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for SIRVA. On September 10, 2021, Respondent filed a proffer on award
of compensation (“Proffer”) indicating Petitioner should be awarded $125,000.00 for pain
and suffering, and $402.54 to satisfy the State of Louisiana Medicaid lien. Proffer at 1. In
the Proffer, Respondent represented that Petitioner agrees with the proffered award. Id.

1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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Based on the record as a whole, I find that Petitioner is entitled to an award as stated in
the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner the
following compensation:

    1. I award Petitioner a lump sum payment of $125,000.00 in the form of a
       check payable to Petitioner, Michelle Schneider.

    2. A lump sum payment of $402.54, representing compensation for
       satisfaction of the State of Louisiana Medicaid lien, payable jointly to
       Petitioner and Louisiana Medicaid Program, and mailed to:

                                  Louisiana Medicaid Program
                                Recovery and Premium Assistance
                                         P.O. Box 3588
                                    Baton Rouge, LA 70821

This amount represents compensation for all damages that would be available under
§ 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS


 MICHELLE SCHNEIDER,

                Petitioner,                           No. 19-1289V (ECF)
                                                      Chief Special Master Corcoran
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                Respondent.


                       PROFFER ON AWARD OF COMPENSATION

      On June 2, 2021, respondent filed a Vaccine Rule 4(c) report concluding that petitioner

suffered an injury that is compensable under the National Childhood Vaccine Injury Act of 1986,

as amended, 42 U.S.C. §§ 300aa-10 to -34, that is, a shoulder injury related to vaccine

administration (“SIRVA”), as defined in the Vaccine Injury Table. Accordingly, on June 10,

2021, the Chief Special Master issued a Ruling on Entitlement.

I.    Compensation for Vaccine Injury-Related Items

       A. Pain and Suffering

      Based upon the evidence of record, respondent proffers that petitioner should be awarded

a lump sum of $125,000.00 for pain and suffering, in the form of a check payable to petitioner.

Petitioner agrees.

       B. Medicaid Lien
       Respondent proffers that petitioner should be awarded funds to satisfy the State of

Louisiana Medicaid lien in the amount of $402.54, which represents full satisfaction of any right

of subrogation, assignment, claim, lien, or cause of action the State of Louisiana may have

against any individual as a result of any Medicaid payments the State of Louisiana has made to
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or on behalf of petitioner from the date of her eligibility for benefits through the date of

judgment in this case as a result of her alleged vaccine-related injury suffered on or about

September 13, 2016 under Title XIX of the Social Security Act.

       The above amounts represent all elements of compensation to which petitioner would be

entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       The parties recommend that compensation provided to petitioner should be made through

two lump sum payments described below, and request that the Chief Special Master’s decision

and the Court’s judgment award the following: 1

       A. A lump sum payment of $125,000.00 in the form of a check payable to petitioner;
          and

       B. A lump sum payment of $402.54, representing compensation for satisfaction of the
          State of Louisiana Medicaid lien, in the form of a check payable jointly to petitioner
          and:

                                  Louisiana Medicaid Program
                                Recovery and Premium Assistance
                                         P.O. Box 3588
                                    Baton Rouge, LA 70821

Petitioner agrees to endorse the check to the Louisiana Medicaid Program for satisfaction of the

Medicaid lien.

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future pain and suffering, and future lost wages.
                                                  2
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                                   Respectfully submitted,

                                   BRIAN M. BOYNTON
                                   Acting Assistant Attorney General

                                   C. SALVATORE D’ALESSIO
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                                   Torts Branch, Civil Division

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DATED: September 10, 2021




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